Case:23-10601-JGR Doc#:29 Filed:04/26/23 Entered:04/26/23 12:00:24 Pagel of 2

 

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Certificate Number: 16339-CO-DE-037377743
Bankruptcy Case Number: 23-10601

16339-CO-DE-037377743

CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on April 25, 2023, at 10:45 o'clock PM EDT, Lorenzo Fernandez
reta completed a course on personal financial management given by internet by
Second Bankruptcy Course, LLC, a provider approved pursuant to 11 U.S.C. 111
to provide an instructional course concerning personal financial management in
the District of Colorado.

 

 

 

Date: April 25, 2023 By: /s/Kelley Tipton

 

 

Name: Kelley Tipton

Title: Certified Financial Counselor

 

 

 

 

 

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Certificate Number: 16339-CO-DE-037377744
Bankruptcy Case Number: 23-10601

16339-CO-DE-037377744

CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on April 25, 2023, at 10:45 o'clock PM EDT, Belkis Fernandez
completed a course on personal financial management given by internet by
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to provide an instructional course concerning personal financial management in
the District of Colorado.

 

 

Date: April 25, 2023 By: /s/Kelley Tipton

 

Name: Kelley Tipton

Title: | Certified Financial Counselor

 

 

 
